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IN THE UNITED STATES DISTRICT COURT 499

FoR THE WESTERN DISTRICT oF TENNESSEE;@@F_ <'l> 45 "` 50
EASTERN DIvIsIoN (`~<`/$ /@_.J¢

IN THE MATTER oF THE coMPLAINT ) 'V‘?;;V ”
oF MAGNOLIA MARINE TRANSPORT )
CoMPANY, As oWNER AND )
oPERAToR oF THE M/v DENNIs ) No. 1-04-1206-T-An
Ross, HER ENGINES, TACKLE, arc )
FoR EXoNERATION FRoM oR )

)

LIMITATION OF LIABILITY.

 

ORDER DENYING CLAIMANTS’ MOTION TO LIFT STAY

 

Claimants Mary Nell Day, individually and as the surviving spouse of` Wayne Day,
deceased, Wayne Day, Jr., individually and as the surviving child of` Wayne Day, Jimmy
Bratcher, and Virginia Bratcher brought suit in the Circuit Court of Benton County,
Tennessee, when Wayne Day and Jimmy Bratcher Were involved in a beating accident With
Def`endant, Magnolia Marine Transport Company, owner and operator of the M/V DENNIS
ROSS. On June 5, 2004, the M/V DENNIS ROSS collided With Day’s and Bratcher’s
fishing boat at approximately mile 102 of` the Tennessee River System near Carnden,
Tennessee. As a result of the accident, Day was killed and Bratcher sustained personal
injuries. Claimants allege that the negligence, gross negligenee, and recklessness of`
Magnolia Marine and Johnny Partaine, the captain of the M/V DENNIS ROSS, caused
Day’s and Bratcher’s injuries. Clainiants seek a total of $42,000,000.00 in damages

On August 27, 2004, Magnolia Marine filed a verified complaint in this court for

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exoneration from or limitation of liability. Jurisdiction is proper under Rule F(9) of the
Supplemental Rules for Certain Admiralty and Maritime Claims of the Federal Rules of
Civil Procedure. On August 30, 2004, this court entered an order restraining and enjoining
all claims and legal proceedings against Magnolia Marine pursuant to the Limitation of
Shipowner’s Liability Act (the “Act”), 46 U.S.C. § 181 et seq., and approving Magnolia
Marine’s stipulation that the value of the M/V DENNIS ROSS’ pending freight at the time
of the accident was $l,764,942.30, thus, limiting its liability to that amount. Before the
court is Claimants’ motion to lift the stay order. For the following reasons, Claimants’
motion is DENIED.

The Limitation of Shipowner’s Liability Act permits the owner of a vessel to “limit
liability for damage or injury, occasioned without the owner’s privity or knowledge, to the
value of the vessel or the owner’s interest in the vessel.” Lewis v. Lewis & Clark Marine,
m, 531 U.S. 43 8, 446 (2001). Once a claim is filed against a shipowner, the shipowner
may petition a court for exoneration from or limitation of liability and tender an adequate
bond. 46 U.S.C. § 185. “Upon the shipowner’s filing of the petition and his tender of an
adequate bond, the district court must enjoin all other proceedings against the shipowner
involving issues arising out of the subject matter of the limitation action.” S & E Shipping
Cor_'p. v. Chesapeake & O. Ry. Co.l 678 F.2d 63 6, 642 (6th Cir. 1982). The purpose behind
enjoining all proceedings is not to prevent a multiplicity of suits but “to provide a

marshalling of assets and for a setting of priorities among claims where the asserted claims

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exceed the value of the vessel and its freight.” Li_. Actions pursued under the Act proceed
in equity without a jury, Ld.

Pursuant to 28 U.S.C. § 1333, district courts have exclusive original jurisdiction over
“[a]ny case of admiralty or maritime jurisdiction, saving to suitors in all cases all other
remedies to which they are otherwise entitled.” Thus, courts have generally found that the
savings to suitors clause under § 1333 conflicts with the Act because the clause favors a

light to trial byjury. 1¢; see also In re Muer, 146 F.3d 410, 417 (6th Cir. 1998) (noting that

 

the “‘savings to suitors’ clause of § 1333 embodies a presumption in favor of jury trials and
common law remedies in the forum of the plaintiffs choice.”).

In resolving this tension, the primary concern is to protect the shipowner’S
right to claim the Act’s liability cap, and to reserve the adjudication of that
right in the federal forum. To accommodate the competing interests of a
shipowner’s right to limit liability and a claimant’s right to trial by jury, the
Supreme Court has established two situations in which a claimant must be
allowed to pursue a claim before a jury. The first situation is where the value
of the limitation fund (value of vessel plus freight) exceeds the total value of
all claims asserted against the vessel owner, and the second is where only one
claim is asserted against the vessel owncr. In this second situation, a district
court is obliged to dissolve its injunction against all other legal proceedings
when only one claim is asserted against the shipowner and sufficient
stipulations are filed.

gat4l7-18 (citations omitted); _s_t§ Langnes v. Green, 282 U.S. 531, 540-44(1931); Odeco
Oil & Gas Co., 74 F.3d 671, 674 (5th Cir. 1996); Lake Tankers Col_p. v. Henn, 354 U.S. 147

(1957); In re Beiswenger Enters. Corp., 86 F.3d 1032, 1037 (llth Cir. 1996); Magnolia

Marine Transnort Co.. lnc. v. Lanlace Towing Co@., 964 F.2d 1571, 1575 (5th Cir. 1992).

In the present case, Claimants’ action does not fit into either of these two situations.

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First, Claimants seek of a total of 842,000,000 in damages-an amount Well above the
$1,764,942.30 liability limitation imposed by the Act. Second, as Claimants admit, this is
a multiple claimant in an inadequate fund situation rather than a single claimant in an
inadequate fund situation. lt is precisely this situation that the Act seeks to stay. In a
multiple claimant-inadequate fund situation, ifother proceedings were not stayed, “claimants
might obtain judgment which would, in the aggregate, exceed the fund and thus subject the
shipowner to liability in excess of the statutory limit.” S & E Shipping Co;p., 678 F.2d at
643. However, the Sixth Circuit has allowed multiple claimants in an inadequate fund
situation to have a stay order lifted if they convert their multiple claims into a single claim
by making stipulations as to the priority in which each of their individual claims would be
paid from the limitation fund.l id at 644 (“Claimants may make stipulations reducing their
claims and establishing priorities in order to eliminate the need for a limitations
proceeding.”); Msg Beiswanger, 86 F.3d at 1038-39; Magnolia Marine, 964 F.Zd at
1576; In re Dammers, 836 F.Zd 750, 756 (2d 1988).

Although the Claimants have submitted a stipulation in the present case, the
stipulation is inadequate because it fails to state the priority in which the four competing
claims would be paid from the limitation fund. Claimants do stipulate as to the priority of

attorneys’ fees and costs, howev er, they make no mention as to the order of priority between

 

' ln addition, similar to single claimants the stipulation must concede that the limitation
fund is equal to the value of the vessel and freight, waive any res judicata arguments, and
concede that the district court has jurisdiction to decide limitation of liability issues LJ. at n.13.
Here, Claimants’ stipulation meets these requirements

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the claims of Mary Nell Day, Wayne Day, Jr., Jimmy Bratcher, and Virginia Bracther.
Therefore, the stipulation is inadequate to protect the shipowner from limited liability as
required by the Limitation of Shipowner’s Liability Act. Consequently, Claimants’ motion
to lift the stay order is DENIED.

IT IS SO ORDERED.

 

 

JAME D. TODD
UNIT D STATES DISTRICT JUDGE

AIMM§

DATE

 

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Honorable .i ames Todd
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